                  Case 4:17-cv-13292-LVP-EAS ECF No. 123 filed 02/27/20             PageID.2955      Page 1 of 2




                                                            United States of America
                                           In the District Court for the Eastern District of Michigan
                                                                Southern Division
                               AFT Michigan,                                   Hon. Linda V. Parker, District Judge
                                    Plaintiff,                                          Hon. Elizabeth A. Stafford

                               v                                                            Case No.: 17-cv-13292

                               Project Veritas, a foreign corporation,
                               and Marisa L. Jorge, alic/a Marissa Jorge,
                               alicIa Marissa Perez,
                                       Defendants.


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                 Case 4:17-cv-13292-LVP-EAS ECF No. 123 filed 02/27/20                PageID.2956       Page 2 of 2




                                                       NOTICE OF CONCURRENCE

                                  The Plaintiff concurs with movant Rhonda Weingarten’s application for a

                           protective order.

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                           February 27, 2020                                    P12273


                                                               Certificate of Service
                           I hereby certify that on February 27, 2020 I electronically filed the foregoing paper with the
                           Clerk of the Court using the ECF system which will send notification of such filing to the
                           following: Paul M. Mersino, Stephen R. Klein, Bredhoff& Kaiser.

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